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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               EVANSVILLE DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                           Plaintiff,           )
                                                )
                      v.                        )     No. 3:22-cr-00029-RLY-MPB
                                                )
ARCINIAL MONTREAL WATT,                         ) -01
                                                )
                           Defendant.           )

                      ORDER APPOINTING CJA COUNSEL

      This Court has determined that the above-named defendant is financially unable

to obtain adequate representation in the above-styled case and is otherwise qualified for

appointment of counsel. Accordingly, the Court makes the following appointment

pursuant to the Criminal Justice Act (18. U.S.C. ' 3006A).

      The Court hereby appoints Andrew Carroll as counsel to represent the

Defendant for proceedings held in this court. Such appointment shall be deemed

effective as of 8/29/2022.


IT IS SO ORDERED.

Date: September 1, 2022




Distribution:

Counsel of record
